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1                       DECLARATION OF AUSA VICTOR A. RODGERS
2            I, Victor A. Rodgers, declare as follows:
3            1.    I am one of the AUSAs representing defendants United States of America
4    and Tracy L. Wilkison and Kristi Koons Johnson in their official capacity only
5    (collectively, “the government”) in this action. I have personal and first-hand
6    knowledge of the facts set forth in this declaration and, if called as a witness, could and
7    would testify thereto.
8            2.    On July 12, 2022, I received an email from plaintiffs’ counsel listing a total
9    of 12 different categories of items plaintiffs advised they wished to file publicly with
10   their opening brief. The email listed as one of those categories “deposition transcripts”
11   without providing any detail as to what deposition transcripts were being referenced or
12   the pages thereof. In addition, other categories listed provided no details, instead
13   generally describing the information as “copies of class members’ inventory records,”
14   again without specifying the specific documents plaintiffs wished to file publicly.
15           3.    On July 14, 2022, I received a second email from plaintiffs’ counsel,
16   eliminating 1 of the 12 different categories, but again as to the depositions at issue
17   providing no details as to the four depositions that are the subject of the instant
18   application, except to identify them as the Versoza, Carlson and the 30(b)(6) depositions.
19           4.    I deposed the seven named plaintiffs in this case on July 13, 14 and 15,
20   2022.
21           5.    On July 18, 2022, I received an email from plaintiffs’ counsel advising that
22   plaintiffs needed the government’s redactions for the four depositions. In response, I
23   advised plaintiffs that I could not provide these redactions (which involved 400 pages of
24   deposition transcripts and four deponents) that day or the next day, and specifically
25   advised that plaintiffs should file the portions of the deposition transcripts they wished to
26   file under seal. However, plaintiffs are seeking to file entire deposition transcripts,
27   rather than those portions of the deposition transcripts they cite in their papers, as part of
28   their July 19, 2022 opening brief.
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1          6.     I recognize that, in response to an under seal application, a declaration must
2    be submitted by the government, as the designating party under the protective order
3    relative to the depositions transcripts, which indicates what portions of the designated
4    item should be redacted. However, parties are not permitted to file entire discovery
5    documents as exhibits to their briefs; requiring a designating party to explain why, for
6    example, thousands of pages of written documents or deposition transcripts that are not
7    even relied upon or cited in a brief, should not be publicly filed, is not the intent of the
8    declaration requirement. As set forth above in the government’s brief, the government
9    has no objection to plaintiffs filing publicly those portions of the deposition transcripts
10   they cite in the brief, and the government intends to further specify, within the protective
11   order deadline, those portions of the four deposition transcripts at issue, that are
12   confidential. Those confidentiality designations will include, for example, pages
13   describing law enforcement investigatory techniques that are not public.
14         I declare under penalty of perjury under the laws of the United States of America
15   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
16   California, on July 22, 2022.
17                                                                  /s/ ___________
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                                                            AUSA VICTOR A. RODGERS

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